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                 UNITED STATES DISTRICT COURT FOR THE
                      DISTRICT OF NEW HAMPSHIRE


United States of America

            v.                               Case No. 06-cr-97-01/02-SM

Edward Cervantes Arias
and Jose Luis Alsina-Ortiz

                                    ORDER

      Defendant Alsina-Ortiz’s motion to continue the final pretrial conference

and trial is granted (document 26). Trial has been rescheduled for the March

2007 trial period. Defendant Alsina-Ortiz shall file a waiver of speedy trial

rights not later than December 27, 2006. On the filing of such waiver, his

continuance shall be effective.

      The Court finds that the ends of justice served by granting a continuance

outweigh the best interest of the public and the defendants in a speedy trial, 18

U.S.C. § 3161(h)(8)(B)(iv), in that failure to grant a continuance would

unreasonably deny defendants the reasonable time necessary for effective

preparation taking into account the exercise of due diligence under the

circumstances.

      Final Pretrial Conference: February 22, 2007 at 11:30 a.m.

      Jury Selection: March 6, 2007 at 9:30 a.m.
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      SO ORDERED.



                                   ____________________________
                                     Steven J. McAuliffe
                                     Chief Judge

December 18, 2006

cc:   Richard N. Foley, Esq.
      Jose A. Espinosa, Esq.
      Michael Sheehan, Esq.
      Mark Zuckerman, AUSA
      US Probation
      US Marshal




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